Case 1:10-cr-00317-REB Document 735-11 Filed 01/17/14 USDC Colorado Page 1of5

NOTICE OF AND RESCISSION OF NOTICE TO THE DISTRICT COURT TO RELEASE
GRAND JURY TRANSCRIPTS, TESTIMONY, EXHIBITS, CD's, TAPES AND PHONE
CONVERSATIONS AS WELL AS ANY AND ALL DOCUMENTS RELATED IN THIS
CASE, ALL TO BE IN PRINTED FORMAT AND BE CERTIFIED TO BE TRUE AND
CORRECT. I EXPLICITLY RESERVE MY RIGHTS UCC-1-308 AND ASK FOR
JURISDICTION AT COMMON LAW FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 148 Filed 02/23/11 USDC Colorado Page 1 of 4
Case No. 10-cr-00317-REB Case No. 10-cv-01073 NOTICE TO THE DISTRICT COURT TO RELEASE

GRAND JURY TRANSCRIPTS, TESTIMONY, EXHIBITS, CD's, TAPES AND PHONE CONVERSATIONS AS WELL

AS ANY AND ALL DOCUMENTS RELATED IN THIS CASE, ALL TO BE IN PRINTED FORMAT AND BE CERTIFIED
TO BE TRUE AND CORRECT. I EXPLICITLY RESERVE MY RIGHTS UCC-1-308 AND ASK FOR JURISDICTION
AT COMMON LAW, Page 2 of 4 Richard Kellogg Armstrong, Page 3 of 4 Richard Kellogg
Armstrong, Page 4 of 4"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE DISTRICT COURT TO RELEASE GRAND JURY TRANSCRIPTS, TESTIMONY, EXHIBITS, CD's,
TAPES AND PHONE CONVERSATIONS AS WELL AS ANY AND ALL DOCUMENTS RELATED IN THIS CASE, ALL
TO BE IN PRINTED FORMAT AND BE CERTIFIED TO BE TRUE AND CORRECT. I EXPLICITLY RESERVE MY
RIGHTS UCC-1-308 AND ASK FOR JURISDICTION AT COMMON LAW. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

liny son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; ge numble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely
FILED Higleadk Ullrdg, ()aSedr,
Richard Kellogg Atms rong
S$ DISTRICT COURT
UNITED SVER COLORADO c/o 20413-298
Federal Correctional
JAN 17 2014 Institution ~ Lompoc
3600 Guard Road
Lompoc, California
EFFREY P. COLWELL
J CLERK

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Page 1 of 2
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01 .
February 15, 2011 a
DISTRICT COURT UNITED STATES

Case No. 10-cr-00317-REB
Case No. 10-cv-01073 »

UNITED STATES OF ICA

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RICHARD KELLOG RONG
Richard Kellogg A g
20413-298

Federal Detention Englewood
9595 Quincy Ave,

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COURT TO RELEASE GRAND JURY TRANSCRIPTS, TESTIMONY , EXHIBITS, CD's, TAPES AND. PHONE
CONVERSATIONS AS WELL AS ANY AND ALL DOCUMENTS RELATE! IS CASE, ALL TO BE IN PRINTED FORMAT CERTIFIED
TO BE TRUE AND CORRPCT. | EXPLICITLY RESERVE MY RIGHTS U 1-308 AND ASK FOR JURISDICTION AT COMMONLLA

AS ~~
NO PRINCIPAL IS NOTICE TO AGENT - NO (O AGENT IS NOTICE TO PRINCIPAL
ww? REQUEST THAT T; her RECOGNIZE
U.S.948, 30, Led 2d 819, 92 S.Ct 963

Haines v. Kerner, 405 U.S. 519, 30 Led 652. 92 S.Ct 594 Ret\ds

Littleton, CO 8Q12

       
   

NOTICE TO THE Di

 

  
   
  
 

COMES NOW: Richar g Armstrong, de jure, a nativeNbor: can, always appearing by special RESTRI isitation,
never by general vi . This District Court is to secure my hk able rights of the Constitution 1787 and the Bi ORRights
1791, the Constitutjo. the Republic of Arizona and the Aridana Enabting Act which guarantees a republic form OF govénment.
Failure to do so wou a violation of the accused’ rights (Se& Article IV, Section 4 of the united States Constituton 1787).

 
  

The accused is not Mogens any rights or my standing in lava

flesh-and-blood living as evidenced by my filings of my UC@\1 find other legat documents with numerous state,

international agencies (See: www. getnotice. info/rka. html), not\a\reated fiction of the UNITED STATES corporation.
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man standing on the land as a living, breathi sentient,
Re and

 

On June 25; 2010, th , t, entered an order permitting disclosure of Gran
and jury ehxhibits andjoth is at¥orneys. In that order was the restriction the D.O.J
placed on the accu y their not making this information a ilable which is a violation of the accused "

 

right to faceimy acc rom the very beginning. That ordéc i in total denial of my right to defend myself. The D.
is obviously being pai é government. .

On January 7, 2011, Avid Owen, Jr. was appointed to represent Mr. Armstrong throughout the pendency of this matter. On
January 27, 2011, after appropriate inquiries, the court granted the accused request to represent himself in the Captioned matters.
The court appointed David L. Owen, Jr. as advisory and/or standby counsel. The court is involved in violation of their oaths of

As this is an Article III court, | intend to demand that the injured Party stand up in the court and if there is no injured party
standing in the court, | will demand that these cases be summarily dismissed with prejudice.
Case 1:10-cr-00317-REB Document 735-11 Filed 01/17/14 USDC Colorado Page 3of5

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The hereby demgnds the immediate release of the accused Grand Jury transcripts from the UNITED STATES DISTRICT COURT,
SOUTHERN DISTRICT, CALIFORNIA AND THE UNITED STATES DISTRICT COURT COLORADO as well as all other related documents and
evidence relatifig to these cases, all of which are to be certified as true and correct under penalty of perjury and they must be in
printed format!

  

   

This document ¢ tended to threaten, iritimidate or harass but is my lawful remedy in law.

Cy

February 15, 201

Q)

cc:
Tenth Circuit Co f Appeals
Supreme Court nited States, Hon, John Roberts, Chief

Arizona Suprem rt

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Case 1:10-cr-00317-REB Document 735-11 Filed 01/17/14 USDC Colorado Page 4of5

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Janua 41 . : : VEIT AA
UNITED ES DISTRICT COURT COLORADO
Clerk's@ffi .

 

United Courthouse, Room A105
901 1 eet
Denver, 80294-3589

en, Jr., Attorney, visited me at FDC Englewood tdiay to introduce himself as my replacement
ollowing that meeting where we discussed my case, tus as a sovereign natural born Americ
al law, | summarily reject the court's appointment of t ttorney as is my constitutional right (s
Supreme Court Ruling).

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as well as
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ing that is repugnant to the Constitution ¥787%6 null and void

Nw

After thy discussion, he stated that | had no decision in thexo appointment of counsel. This would be gn giolation of the
Constitut nd a Supreme Court Ruling (see Poindexter v. U States). Also, he appears to have no underdhdite of the money

Mr, O does not believe that | have any Constitutional rights:
v. Madison).

VA

at the Federal Reserve Bank is not owned bythe Faderal

i,

system! ing my 1099-OID filing. E.g.-HJR-192 1933, the
Govern ut is a privately held bank that operates as the¢@ntkal bank for the U.S.A. and the fact that he Wea that
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the WF is not a department of the Government but a private co tion incorporated in Deleware, domiciled i Rico, that
is nO more than the collection agency for the Federal Rese the IMF.

   
 
  

fsh-and-blood citizen of the Republic of praano Dre suratees

in rega y sovereignty as a natural born, living, sentient,
a rep rm of government, Mr. Owen stated that my claim @& a sovereign , regardless of my filings (see
www. ice.info/rka.html) is nothing more than a baseless stytement. He obviously does not know that there 0 different

n and a native born American of the Repullic: .

   
 

omen n this country, a corporate Fourteenth Amendmant Witi

 

  

ihan Owen copies of documents regarding my occupation e Office of Executor of the RICHARD KELLO RMSTRONG
__Estate Tyagyvere recently filed with the courts and he appeared @g/have no understanding of the meaning of th ements to

the courtor the value of those to my case. He is apparently unin rmed about the Trust and the effect my Exéecu

prison bonds. ~

Upon my stQterhent to Mr. Owen that | had the right to be tried in an Article lif court where my inalienable rights would be strictly
upheld fhe s¥ated that this administrative court is the only court and he erroneously stated that it is the same as an Article II!
Court.

we

By the claiming that | am a flight risk, Mr. Owen acquiessed to the court's determination and was disinterested in reopening a
hearin .

Therefore, the above statements prove that he is totally unqualified to Tepresent me in this case.

With reference to my January 11, 2011, letter to the court, | again demand assistance of counsel af this time and that person must
be specifically knowledgeable in the Constitution 1787 and the Bill of Rights

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, ot Aine) Kobbe aS CG aoe Ata .
Richard Kellogg Armstrong, dejuré Ss
Sovereign
Case 1:10-cr-00317-REB Document 735-11 Filed 01/17/14 USDC Colorado Page 5of5

Case 1:10-cr-00317-REB Document 148 Filed 02/23/11 USDC Colorado Page 4 of 4

  

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